Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 1 of 54
            Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 2 of 54




 1                                 ATTACHMENT A
 2                              Property to Be Searched
 3        A gray 2004 BMW 530 4DR with a Vehicle Identification Number of
 4 WBANA73594B800158.
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     ATTACHMENT A - 1                                              UNITED STATES ATTORNEY
                                                                  700 STEWART STREET, SUITE 5220
                                                                    SEATTLE, WASHINGTON 98101
                                                                          (206) 553-7970
                Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 3 of 54




 1                                      ATTACHMENT B
 2                                   ITEMS TO BE SEIZED
 3         All documents, records, images, and items, in whatever form, that are evidence,
 4 contraband, fruits, and instrumentalities of the commission of the following crimes: 21
 5 U.S.C. § 841(a)(1) (distribution of controlled substances / possession with intent to
 6 distribute controlled substances); 21 U.S.C. § 846 (conspiracy to distribute controlled
 7 substances) involving Robert K. ARTZ, since May 2020, including:
 8         1.       Controlled Substances and controlled substance analogues.
 9
          2.      Drug Paraphernalia and Instruments of Drug Trafficking: Items used, or to
10 be used, to store, process, package, use, and/or distribute controlled substances; plastic
   bags, cutting agents, scales, measuring equipment, tape, hockey or duffel bags, chemicals
11
   or items used to test the purity and/or quality of controlled substances.
12
          3.      Drug Transaction Records: Documents such as ledgers, receipts, and notes
13
   relating to the acquisition, transportation, and distribution of controlled substances,
14 however stored, including in cellular phones.
15
          4.     Customer and Supplier Information: Items identifying drug customers and
16 drug suppliers, such as telephone records, personal address books, correspondence,
17
     amounts and prices, and maps or directions.
18
          5.      Cash and Financial Records: Currency and financial records, such as bank
19
   records, safe deposit box records and keys, credit card records, bills, receipts, tax returns,
20 and vehicle documents; records that show income and expenditures, net worth, money
21
22         6.     Photographs/Video: Photographs, video tapes, digital cameras, surveillance
   cameras, and associated hardware/storage devices depicting property occupants, friends
23
   and relatives of the property occupants, or suspected buyers or sellers of controlled
24 substances, controlled substances or other contraband, weapons, and assets derived from
   the distribution of controlled substances.
25
26         7.       Weapons, including firearms, magazines, ammunition, and body armor.
27
28

      ATTACHMENT B - 1                                                        UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
                                                                               SEATTLE, WASHINGTON 98101
                                                                                     (206) 553-7970
              Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 4 of 54




 1          8.    Codes: Evidence of codes used in the distribution of controlled substances,
     such as passwords, code books, cypher or decryption keys.
 2
 3           9.     Property Records: Evidence relating to the purchase, ownership,
     registration, or control of the BMW.
 4
 5         10.    Indicia of use of the BMW, such as correspondence, papers, records,
     photographs, or identification.
 6
 7           11.    Individual and business financial books, records, receipts, notes, ledgers,
     diaries, journals, and all records relating to income, profit, expenditures, or losses, such
 8
     as:
 9                  a.     Employment records: paychecks or stubs, lists and accounts of
     employee payrolls, records of employment tax withholdings and contributions, dividends,
10
     stock certificates, and compensation to officers.
11                  b.     Savings accounts: statements, ledger cards, deposit tickets, register
     records, wire transfer records, correspondence, and withdrawal slips.
12
                    c.     Checking accounts: statements, canceled checks, deposit tickets,
13   credit/debit documents, wire transfer documents, correspondence, and register records.
                    d.     Loan Accounts: financial statements and loan applications for all
14
     loans applied for, notes, loan repayment records, and mortgage loan records.
15                  e.     Collection account statements and other-related records.
                    f.     Certificates of deposit: applications, purchase documents, and
16
     statements of accounts.
17                  g.     Credit card accounts: credit cards, monthly statements, and receipts
     of use.
18
                    h.     Receipts and records related to gambling wins and losses, or any
19   other contest winnings.
                    j.     Financial records: profit and loss statements, financial statements,
20
     receipts, balance sheets, accounting work papers, any receipts showing purchases made,
21   both business and personal, receipts showing charitable contributions, and income and
     expense ledgers.
22
23        12.    All bearer bonds, letters of credit, money drafts, money orders, cashier's
   checks, travelers checks, Treasury checks, bank checks, passbooks, bank drafts, money
24
   wrappers, stored value cards, and other forms of financial remuneration evidencing the
25 obtaining, secreting, transfer, and/or concealment of assets and/or expenditures of money.
26
        13.    All Western Union and/or Money Gram documents and other financial
27 documents evidencing domestic or international wire transfers, money orders, official
28
     including applications, payment records, money orders, and frequent customer cards.
      ATTACHMENT B - 2                                                       UNITED STATES ATTORNEY
                                                                            700 STEWART STREET, SUITE 5220
                                                                              SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
             Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 5 of 54




 1
            14.    Correspondence, papers, records, and any other items showing employment
 2
     or lack of employment.
 3
          15.     Phone books, address books, any papers or documents reflecting names,
 4
   addresses, telephone numbers, pager numbers, cellular telephone numbers, facsimile,
 5 and/or telex numbers, telephone records and bills relating to co-conspirators, sources of
   supply, customers, financial institutions, and other individuals or businesses with whom a
 6
   financial relationship exists; telephone answering devices that record telephone
 7 conversations and the tapes therein for messages left for or by co-conspirators for the
   delivery or purchase of controlled substances or laundering of drug proceeds.
 8
 9         16.    Safes and locked storage containers, and the contents thereof which are
     otherwise described in this document.
10
11         17.   Tools that may be used to open hidden compartments in vehicles, such as
   paint, bonding agents, magnets, or other items that may be used to open/close said
12
   compartments.
13
           18.   Pill press machine, encapsulating machine, and other tools or equipment
14
   used to manufacture pills.
15
           19.   Cellular phones, including:
16
17                a.     Any passwords, password files, test keys, encryption codes or other
     information necessary to access the cellular phone;
18
19                b.     Evidence of who used, owned, or controlled the cellular phone at the
   time the things described in this warrant were created, edited, or deleted, such as logs,
20 registry entries, configuration files, saved usernames and passwords, documents,
21
   photographs, and correspondence; and
22
23                c.     Evidence of the times the cellular phone was used.

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      ATTACHMENT B - 3                                                     UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
                Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 6 of 54




 1                                           AFFIDAVIT
 2 STATE OF WASHINGTON                   )
                                         )      ss
 3
     COUNTY OF SNOHOMISH                 )
 4
 5 I, P. Zoller, a Task Force Officer with Federal Bureau of Investigation, Northwestern
 6 Washington Safe Trails Task Force, having been duly sworn, state as follows:
 7                                  AFFIANT BACKGROUND
 8         1.       I, P. Zoller, am a fully Commissioned Police Officer with the Tulalip Police
 9 Department assigned within the exterior boundaries of the Tulalip Reservation located in
10 Tulalip, Washington. I have been a commissioned officer since July of 2015 and I have
11 graduated from the Federal Law Enforcement Training Center Police Academy and the
12 Washington State Criminal Justice Training Center Police Equivalency Academy. My
13 duties and training include traffic enforcement, crimes against persons, drug
14 identification and recognition, pill identification, drug recognition, drug interdiction, and
15 DUI detection. I am currently assigned to the Detective Division as a Tulalip Drug Task
16 Force Detective. I am also assigned to the Northwestern Washington Safe Trails Task
17
18 States Marshal Service that authorizes me to investigate violations of Title 18 and Title
19 21 of the United States Code.
20         2.       I have participated in, and successfully completed, multiple training
21 courses, including: Advanced Criminal Training/Workshop, Managing Narcotic
22 Informants, Washington State Narcotics Investigator Association Training, and the Drug
23
24 DEA course training on search and seizure reviews, electronic surveillance and search
25 warrants, drug identification, pharmacology identification, developing and utilizing
26 confidential sources, undercover operations and risk management, undercover practical
27 exams, Jetway and drug interdiction case studies, raid plan development, de-confliction,
28   AFFIDAVIT OF TFO P. ZOLLER - 1                                           UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
                                                                               SEATTLE, WASHINGTON 98101
                                                                                     (206) 553-7970
                Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 7 of 54




 1 asset forfeiture, vehicle-involved arrests, undercover practical exercises, trends and
 2 methods of trafficking and intelligence, and technical operations.
 3         3.       In my role as a Drug Task Force Detective for the Tulalip Police
 4 Department, I have participated in narcotics investigations involving heroin, fentanyl,
 5 cocaine, marijuana, and methamphetamine. These investigations have resulted in the
 6 arrest of individuals, the seizure of narcotics and/or narcotic-related evidence, and the
 7 forfeiture of narcotics related assets. I have been involved in the service of search
 8 warrants as part of these investigations. As a result of my training and experience, I am
 9 familiar with the various tools, methods, trends, paraphernalia and related articles used by
10 various traffickers in their efforts to conceal and distribute controlled substances. I am
11 also familiar with the manner in which drug traffickers use telephones, often cellular
12 telephones, to conduct their unlawful operations.
13                    INTRODUCTION AND PURPOSE OF AFFIDAVIT
14         4.       I make this affidavit in support of an application under Rule 41 of the
15 Federal Rules of Criminal Procedure for a warrant to search a gray 2004 BMW 530 4DR
16
17         5.       Because this Affidavit is submitted for the limited purpose of establishing
18 probable cause in support of the application for a search warrant, it does not set forth
19 each and every fact that I or others have learned during the course of this investigation. I
20 have set forth only the facts that I believe are necessary to establish probable cause to
21 believe that evidence, fruits and instrumentalities of violations of Distribution of
22 Controlled Substances and Possession with Intent to Distribute Controlled Substances, in
23 violation of 21 U.S.C. § 841(a)(1), and Conspiracy to Distribute Controlled Substances,
24 in violation of 21 U.S.C. § 846, will be found in the BMW.
25         6.       On the morning of September 2, 2021, the Tulalip Police Department
26
27
28   AFFIDAVIT OF TFO P. ZOLLER - 2                                           UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
                                                                               SEATTLE, WASHINGTON 98101
                                                                                     (206) 553-7970
                Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 8 of 54




 1 that search warrant, and the affidavit in support thereof, is attached hereto as Exhibit 1
 2 and fully incorporated herein.
 3         7.       Following the execution of the search warrant, TPD interviewed a number
 4 of individuals found at the SPENCER HOUSE. Based on those interviews, TPD learned
 5
 6 house property, was recently purchased by ARTZ. This was consistent with recent
 7 observations by TPD detectives who had noticed the BMW parked near the SPENCER
 8 HOUSE recently.
 9         8.       As a result of the BMW being identified as likely belonging to ARTZ, other
10 TPD officers and I suspected it may contain narcotics or other evidence of drug
11 trafficking. Based on my training and experience, I know that drug traffickers often store
12 controlled substances, records of drug trafficking, and similar items of evidentiary value
13 in locations where they believe their property is secure and will remain undetected from
14 law enforcement, such as inside their vehicles.
15         9.       One of the TPD personnel on scene was TPD Commander James Williams.
16 Commander Williams requested the assistance of Marysville Police Department Officer
17 B. Smith and his K9 partner Steele to deploy K9 Steele on the BMW. They did so, and
18
19 attached hereto as Exhibit 2 and fully incorporated herein. 1
20         10.      Commander Williams found the VIN of the BMW, which was visible from
21 the exterior of the car. The VIN is WBANA73594B800158.
22         11.      I spoke with FBI SA Abel Peterson, who told me that the FBI was able to
23 identify the registered owner of the BWM was D.L. TPD Detective Sergeant Schakel
24 spoke with D.L. by phone, and D.L. confirmed that she had sold the BMW to ARTZ
25
26
     1
                                                   Attachment A, however, to avoid unnecessary confusion
27
     of the document were made.
28    AFFIDAVIT OF TFO P. ZOLLER - 3                                             UNITED STATES ATTORNEY
                                                                                700 STEWART STREET, SUITE 5220
                                                                                  SEATTLE, WASHINGTON 98101
                                                                                        (206) 553-7970
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 9 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 10 of 54




         Exhibit 1
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 11 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 12 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 13 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 14 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 15 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 16 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 17 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 18 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 19 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 20 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 21 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 22 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 23 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 24 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 25 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 26 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 27 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 28 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 29 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 30 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 31 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 32 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 33 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 34 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 35 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 36 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 37 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 38 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 39 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 40 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 41 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 42 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 43 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 44 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 45 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 46 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 47 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 48 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 49 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 50 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 51 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 52 of 54
Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 53 of 54




         Exhibit 2
      Case 2:21-mj-00499-SKV Document 1 Filed 09/08/21 Page 54 of 54




                                     Canine and Handler Resume


over 400 training hours for controlled substance detection in March 2017. Steele is trained in the
detection of odors emanating from Cocaine, Heroin and Methamphetamine.

Dual Purpose K9 Steele is trained to give a passive alert to odors emanating from the above listed
controlled substances. This alert is described as a change in behavior characterized by tail flagging,

where K9 Steele searches to the source of the odor and stares.

I have been a Police Officer with the City of Marysville since September 2009 and am currently assigned to
the K-9 Unit. I am currently handling my third canine.

From 2011 until 2016, I handled Controlled Substance Detection K9 Katy. During that time, we were
certified through the Pacific Northwest Police Detection Dog Association and the Washington State

Cyrus. During that time, we were certified through the North American Police Work Dog Association,
Washington State Criminal Justice Training Commission and the Pacific Northwest Police Detection Dog


I currently hold a Dual Purpose Dog Team Certification (Patrol/Controlled Substance Detection) through
the Washington State Police Canine Association, Washington State Criminal Justice Training Commission
and the Pacific Northwest Police Drug Detection Dog Association. Additionally, I have attended training
seminars put on by the North American Police Work Dog Association, Montana Police Canine Association,
Pacific Northwest Police Drug Detection Dog Association and the St. Petersburg College Multijurisdictional
Counterdrug Task Force.

I am currently an evaluator for narcotic detection canine teams through the Washington State Criminal
Justice Training Commission and the Pacific Northwest Police Drug Detection Dog Association. I am
certified as a Master Handler Team in both Narcotic Detection and Generalist (Patrol) Canine through the
Washington State Police Canine Association. I am certified as a Trainer of Narcotic Detection Canine
Teams through the Washington State Police Canine Association

Dual Purpose K9 Steele and I have performed over 500 applications where controlled substances were
discovered and/or the odor of controlled substances were present. Dual Purpose K9 Steele continues to
show that he is reliable in training and applications.

This document was submitted on a device that is owned, issued or maintained by the Marysville Police
Department, which is an identified criminal justice agency in Washington State.

I certify under penalty of perjury under the laws of the State of Washington the foregoing is true and
correct (RCW 9A.72.085) and I am entering my authorized user ID and password to authenticate it.

Officer Brad Smith Badge #0099
Marysville Police Department
City of Marysville, WA                                                   Date 09-02-2021
